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 AO 91 (Rev 11111) Criminal Complaint


                                        UNITED STATES DISTRICT COURT                                U.S. DISTRICT COURT – N.D. OF N.Y.
                                                         for the
                                              Northern District of New York
                                                                                                             FILED
 UNITED STATES OF AMERICA                             )
                v.                                    )
                                                                                                        Oct 13 - 2022
 JAMES BOLDS,                                         )       Case No. 5:22-MJ-608 (ATB)
                                                                                                         John M. Domurad, Clerk
                                                      )
                                                     )
                                                     )
                                                     )
                        Defendant.                   )

                                              CRIMINAL    COMPLAINT

         T, the complainant in this case, state that the following is true to the best of my knowledge and belief. On

or about the date(s) of October 13,2022, in the county of Onondaga in the Northern District of New York the

defendant violated:

              Code Section                                               Offense Description
 18 U .S.C. § 922(g)( 1)                         Possession of firearm and ammunition by a felon




 This criminal complaint is based on these facts:
See attached affidavit
  181     Continued on the attached sheet.



                                                                  Heather L. Weber, Special Agent (FBI)
                                                                           Printed name and title

 Attested to by the affiant in accordance with Rule 4.1 of the Federal Rules of Criminal Procedure.


 Date:      10/13/2022
                                                                             Judge's signature

 City and State:            Syracuse, NY                      Hon. Andrew T. Baxter, U.S. Magistrate Judge
                                                                           Printed name and title
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                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Heather Weber being first duly sworn, hereby depose and state as follows:

                                   PURPOSE OF AFFIDAVIT

        1.     I make this affidavit in support of a criminal complaint charging JAMES BOLDS

("BOLDS") with the unlawful possession of a firearm and ammunition by a felon, in violation of

Title 18, United States Code, Section 922(g)(I).

                                    AGENT BACKGROUND

       2.      I am a Special Agent with the Federal Bureau ofInvestigation     and have been since

September 2014.    I have been involved in numerous investigations       involving drug trafficking,

robberies and other violent offenses. I also have worked on numerous investigations         involving

child exploitation that have involved locating individuals using electronic devices, such as cellular

telephones, and collecting digital forensic evidence.

       3.      I have personally participated in the investigation of the offenses set forth below

and as a result of my participation and my review of past and present reports made by other Law

Enforcement Officers of state and local law enforcement agencies, Special Agents, and I am fully

familiar with the facts and circumstances of this investigation.

       4.      Because this affidavit is being submitted for the limited purposes of demonstrating

probable cause to support a criminal complaint, I have not included each and every fact known to

me concerning this investigation. I have set forth only the facts and circumstances     that I believe

establish probable cause for the complaint.
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                       FACTS ESTABLISHING           PROBABLE       CAUSE

        5.     The SUBJECT        RESIDENCE     is located in the City of Syracuse,     County of

Onondaga, and the State of New York. The premises is described as a multi-family residence, that

is white in color. The residence is located on the East side ofN Collingwood Ave. The structure

is clearly marked with the numbers "262" located on the front door of the residence. The front

door is white in color and has a set of panel windows on the top portion of the door.

        6.     On or October      12, 2022, Syracuse City Court Judge Mary Ann Dougherty

authorized a search warrant for the SUBJECT RESIDENCE, the person of JAMES BOLDS, and

the SUBJECT VEHICLE,         in the City of Syracuse, based on suspected violations      of drug-

trafficking offenses. The warrant authorized the seizure of, among other things, cocaine and other

illegal substances and weapons.

        7.     On October 13,2022, law enforcement then executed the court-authorized       search

warrants. Police encountered BOLDS and Male A outside the SUBJECT RESIDENCE.                While

BOLDS and Male A were still outside the SUBJECT RESIDENCE,              other officers entered the

SUBJECT RESIDENCE. Four other individuals were inside: Male B, Female A, and two young

children.

        8.     After being advised of his Miranda rights and as the search was beginning, BOLDS

stated there were ecstasy pills and cocaine in his dresser drawer. When asked about ammunition

that was observed in the dining room, BOLDS stated that the ammunition had been left behind by

a previous tenant. BOLDS denied that there were any firearms in the SUBJECT RESIDENCE.

        9.     During the execution of the search warrant, law enforcement located the following

items inside the SUBJECT RESIDENCE:




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                a.      In an ensuite bathroom accessible only by master bedroom, a loaded Sig

Sauer model P365 9mm semiautomatic handgun bearing serial number 66A206212 ("Sig Sauer");

                b.      In the living room, inside a reusable shopping bag, a 9mm "ghost gun;"

                c.      In the bedroom dresser drawer, approximately 330 pills of suspected ecstasy

IMDMA;

                d.      In a kitchen cabinet drawer, 7 digital scales, cutting agent, and one knotted

section of a bag containing a white chunky substance weighing approximately 27.9 grams, which

field-tested positive for cocaine;

                e.      In the dining room, one box of 40 caliber ammunition;

                f.      In the master bedroom, a ballistic vest.

        10.     BOLDS was advised of his Miranda            rights and agreed to speak with law

enforcement officers. BOLDS stated, in sum and substance, that:

                a.      He has lived at the SUBJECT RESIDENCE for approximately 4 years;

                b.      The master bedroom with ensuite bathroom is exclusively his room;

                c.      When he moved in, he found the box of ammunition,            and moved the

ammunition to the dining room for storage.

                d.      Female A owns the Sig Sauer and the 9mm ghost gun. She occasionally

stays at the SUBJECT RESIDENCE. When she is not staying there, she stays in a nearby shelter.

Female A leaves the Sig Sauer at the SUBJECT RESIDENCE               when she stays at the shelter.

BOLDS knew that she left it at the SUBJECT RESIDENCE, and put the Sig Sauer in a cabinet in

the master bathroom when his children visit the SUBJECT PREMISES. BOLDS stated that he had

put the Sig Sauer there as recently as yesterday.




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        11.    Based on my review of publicly available information,              including Sig Sauer's

website, Sig Sauer does not have a manufacturing facility in the State of New York and therefore

the Sig Sauer traveled in and affected interstate commerce.

        12.    I reviewed an image of the ammunition and observed a stamp indicating it was

Blaze Ammunition.      A publicly available records query indicates Blaze Ammunition               is not

manufactured in the State of New York and therefore traveled in and affected interstate commerce.

        13.    According    to a law enforcement       criminal history database,      BOLDS has the

following prior felony convictions:

                a.      On or about May 21, 2012, BOLDS was sentenced in Alamance County

Superior Court, North Carolina, to 17 to 21 months' confinement and 48 months' probation as a

result of his conviction for assault inflicting serious bodily injury;

                b.      On or about May 21, 2012, BOLDS was sentenced in Alamance County

Superior Court, North Carolina, to 17 to 30 months' confinement and 48 months' probation as a

result of his conviction for common law robbery; and

                c.      On or about December       11, 2014, BOLDS was sentenced in Alamance

Couilty Superior Court, North Carolina, to 11 to 23 months'              confinement   as a result of his

conviction for possession of firearm by a felon.




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                                        CONCLUSION

       14.    Based on the facts set forth above, I respectfully submit that there is probable cause

to believe that JAMES BOLDS has violated Title 18, United States Code, Section 922(g)(l),

unlawful possession of a firearm and ammunition by a felon.


ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE REQUIREMENTS                                 OF
RULE 4.1 OF THE FEDERAL RULES OF CRIMINAL PROCEDURE.




I, the Honorable Andrew T. Baxter, United States Magistrate Judge, hereby acknowledge that this
affidavit was attested to by the affiant by telephone on October 13, 2022, in accordance with Rule
4.1 of the Federal Rules of Criminal Procedure.




Honorable Andrew T. Baxter
U.S. Magistrate Judge




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